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                              UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA


     CHUMA IKEME, ELIJIAH REID IV,
     EMMANUEL BENIGHT, RAMEL BARNES,                     CIVIL ACTION NO:
     SHARWIN CARTER and DEMARIO SIMS

                        Plaintiffs,                      JURY TRIAL DEMANDED

     v.


     WASTE PRO USA, INC., WASTE PRO OF
     NORTH CAROLINA, and WASTE PRO OF
     SOUTH CAROLINA

                        Defendants.
     .

                                         COMPLAINT

          Plaintiffs Chuma Ikeme, Elijah Reed, Emmanuel Benight, Ramel Barnes and Sharwin

Carter and Demario Sims, by their attorneys, file this Complaint against Defendants Waste Pro

USA, Inc., (hereinafter “Waste Pro USA”), Waste Pro of North Carolina, Inc. (hereinafter

“Waste Pro North Carolina”), and Waste Pro of South Carolina, (hereinafter “Waste Pro South

Carolina”) (collectively, “Defendants” or “Waste Pro”), seeking all available relief under the

Fair Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. §§ 201 et seq. The following allegations

are based on personal knowledge as to Plaintiffs’ own conduct and are made on information and

belief as to others.1




1
         All of the Plaintiffs were previously Opt-In Plaintiffs in the Thomas v. Waste Pro USA,
Inc., et al. action, No. 8:17-cv-2254 (M.D. Fla.). That case was proceeding as a collective action
and was decertified. Plaintiffs are now re-filing their claims through this Complaint with the
benefit of tolling of their claims through the Thomas action.
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                                   NATURE OF THE ACTION

        1.      Plaintiffs each worked for Waste Pro as Helpers2 who were paid a daily rate or

“day rate.” Plaintiffs also each worked at a location that had a policy or practice to either pay a

“half-day rate”3 or pay non-discretionary bonuses.

        2.      All Helpers were paid overtime wages at a rate of half of their regular rate, rather

than at a rate of time-and-a-half their regular rate.

        3.      Waste Pro USA, Waste Pro North Carolina and Waste Pro South Carolina jointly

and severally violated the FLSA by failing to pay Plaintiffs the legally required amount of

overtime compensation in an amount required by law for all hours worked over forty in a

workweek. Plaintiffs are entitled to unpaid overtime wages for hours worked above forty in a

workweek, and to liquidated damages pursuant to the FLSA.

        4.      By the conduct described in this Complaint, Defendants violated and continue to

violate the FLSA by failing to pay Plaintiffs proper overtime wages as required by law.

        5.      Plaintiffs bring this action pursuant to the FLSA, and specifically 29 U.S.C. §

216(b), to remedy violations of the overtime wage provisions of the FLSA.

                                  JURISDICTION AND VENUE

        6.      This Court has subject matter jurisdiction over Plaintiffs’ federal claims pursuant

to 28 U.S.C. §§ 1331 and 1337.

        7.      This Court also has jurisdiction over Plaintiffs’ claims under the FLSA pursuant




2
        Unless otherwise stated, “Helpers” shall be defined as those employed as Helpers and
paid a day rate. A “day rate” is a flat amount of money to perform work on a particular day.
Thus, these allegations do not relate to any time period during which Plaintiffs were employed as
Helpers and not paid a day rate or employed by Defendants in any other position other than
Helper.
3
        The “half-day rate” shall be defined as half of the Helpers’ day rate.

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to 29 U.S.C. § 216(b).

          8.    Defendants are subject to personal jurisdiction in Florida.

          9.    Defendants maintain places of business in Florida.

          10.   Venue is proper in the United States District Court for the Middle District of

Florida pursuant to 28 U.S.C. § 1391.

          11.   A substantial part of the events or omissions giving rise to claims in this

Complaint occurred in this District.

                                          THE PARTIES

Plaintiffs

Plaintiff Chuma Ikeme

          12.   Plaintiff Chuma Ikeme is an adult individual who is a resident of Fairview, North

Carolina, and, pursuant to 29 U.S.C. § 216(b) has consented in writing to being a Plaintiff in this

action.

          13.   Plaintiff is a covered employee within the meaning of the FLSA.

          14.   Plaintiff has been employed by Defendants Waste Pro USA and Waste Pro North

Carolina as a Helper in North Carolina.

          15.   Plaintiff has been employed by Defendants Waste Pro USA and Waste Pro South

Carolina as a Helper in North Carolina from approximately August 2016 to February 2018.

          16.   While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

North Carolina as a Helper, Plaintiff was classified as non-exempt and, during the time period

relevant to this Complaint, was paid a day rate.

          17.   While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

North Carolina as a Helper, Plaintiff frequently worked overtime hours. Defendants Waste Pro




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USA and Waste Pro South Carolina paid Plaintiff overtime at a rate of half of Plaintiff’s regular

rate of pay, as described in Paragraph 75, infra.

          18.     While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

North Carolina as a Helper during the time period relevant to this Complaint, Defendants’ policy

and practice was to pay Plaintiff a half day rate if Plaintiff worked less than four hours on that

particular day.

Plaintiff Elijah Reid IV

          19.     Plaintiff Elijah Reid IV is an adult individual who is a resident of Arden, North

Carolina, and, pursuant to 29 U.S.C. § 216(b) has consented in writing to being a Plaintiff in this

action.

          20.     Plaintiff is a covered employee within the meaning of the FLSA.

          21.     Plaintiff has been employed by Defendants Waste Pro USA and Waste Pro North

Carolina as a Helper in North Carolina.

          22.     Plaintiff has been employed by Defendants Waste Pro USA and Waste Pro North

Carolina as a Helper in North Carolina from approximately February 2016 to at least July 2019.

          23.     While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

North Carolina as a Helper, Plaintiff was classified as non-exempt and, during the time period

relevant to this Complaint, was paid a day rate.

          24.     While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

North Carolina as a Helper, Plaintiff frequently worked overtime hours. Defendants Waste Pro

USA and Waste Pro North Carolina paid Plaintiff overtime at a rate of half of Plaintiff’s regular

rate of pay, as described in Paragraph 75, infra.

          25.     While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro




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North Carolina as a Helper during the time period relevant to this Complaint, Defendants’ policy

and practice was to pay Plaintiff a half day rate if Plaintiff worked less than four hours on that

particular day.

Plaintiff Emmanuel Benight

        26.       Plaintiff Emmanuel Benight is an adult individual who is a resident of Marion,

North Carolina, and, pursuant to 29 U.S.C. § 216(b) has consented in writing to being a Plaintiff

in this action.

        27.       Plaintiff is a covered employee within the meaning of the FLSA.

        28.       Plaintiff has been employed by Defendants Waste Pro USA and Waste Pro North

Carolina as a Helper in North Carolina.

        29.       Plaintiff has been employed by Defendants Waste Pro USA and Waste Pro South

Carolina as a Helper in South Carolina from approximately September 2016 to January 2017.

        30.       While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

North Carolina as a Helper, Plaintiff was classified as non-exempt and, during the time period

relevant to this Complaint, was paid a day rate.

        31.       While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

North Carolina as a Helper, Plaintiff frequently worked overtime hours. Defendants Waste Pro

USA and Waste Pro North Carolina paid Plaintiff overtime at a rate of half of Plaintiff’s regular

rate of pay, as described in Paragraph 75, infra.

        32.       While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

North Carolina as a Helper during the time period relevant to this Complaint, Defendants’ policy

and practice was to pay Plaintiff a half day rate if Plaintiff worked less than four hours on that

particular day.




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Plaintiff Ramel Barnes

          33.     Plaintiff Ramel Barnes is an adult individual who is a resident Powder Spring,

Georgia and, pursuant to 29 U.S.C. § 216(b) has consented in writing to being a Plaintiff in this

action.

          34.     Plaintiff is a covered employee within the meaning of the FLSA.

          35.     Plaintiff has been employed by Defendants Waste Pro USA and Waste Pro South

Carolina as a Helper in South Carolina from approximately May 2014 to January 2017.

          36.     While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

South Carolina as a Helper, Plaintiff was classified as non-exempt and, during the time period

relevant to this Complaint, was paid a day rate.

          37.     While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

South Carolina as a Helper, Plaintiff frequently worked overtime hours. Defendants Waste Pro

USA and Waste Pro South Carolina paid Plaintiff overtime at a rate of half of Plaintiff’s regular

rate of pay, as described in Paragraph 75, infra.

          38.     While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

South Carolina as a Helper during the time period relevant to this Complaint, Defendants’ policy

and practice was to pay Plaintiff a half day rate if Plaintiff worked less than four hours on that

particular day.

Plaintiff Sharwin Carter

          39.     Plaintiff Larry Brown is an adult individual who is a resident of North Charleston,

South Carolina and, pursuant to 29 U.S.C. § 216(b) has consented in writing to being a Plaintiff

in this action.

          40.     Plaintiff is a covered employee within the meaning of the FLSA.




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          41.     Plaintiff has been employed by Defendants Waste Pro USA and Waste Pro South

Carolina as a Helper in South Carolina from approximately May 2016 to February 2017.

          42.     While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

South Carolina as a Helper, Plaintiff was classified as non-exempt and, during the time period

relevant to this Complaint, was paid a day rate.

          43.     While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

South Carolina as a Helper, Plaintiff frequently worked overtime hours. Defendants paid

Plaintiff overtime at a rate of half of Plaintiff’s regular rate of pay, as described in Paragraph 75,

infra.

          44.     While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

South Carolina as a Helper during the time period relevant to this Complaint, Defendants’ policy

and practice was to pay Plaintiff a half day rate if Plaintiff worked less than four hours on that

particular day.

Plaintiff Demario Sims

          45.     Plaintiff Demario Sims is an adult individual who is a resident of Beaufort, South

Carolina and, pursuant to 29 U.S.C. § 216(b) has consented in writing to being a Plaintiff in this

action.

          46.     Plaintiff is a covered employee within the meaning of the FLSA.

          47.     Plaintiff has been employed by Defendants Waste Pro USA and Waste Pro South

Carolina as a Helper in South Carolina from approximately January 2015 to at least July 2019.

          48.     While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

South Carolina as a Helper, Plaintiff was classified as non-exempt and, during the time period

relevant to this Complaint, was paid a day rate.




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         49.      While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

South Carolina as a Helper, Plaintiff frequently worked overtime hours. Defendants paid

Plaintiff overtime at a rate of half of Plaintiff’s regular rate of pay, as described in Paragraph 75,

infra.

         50.      While Plaintiff was employed by Defendants Waste Pro USA and Waste Pro

South Carolina as a Helper during the time period relevant to this Complaint, Defendants’ policy

and practice was to pay Plaintiff a half day rate if Plaintiff worked less than four hours on that

particular day.

Defendants

         51.      Defendant Waste Pro USA, Inc. is a corporation organized under the laws of the

state of Florida. Defendant Waste Pro USA, Inc. is licensed and registered to do business in

Florida, with headquarters in Longwood, Florida. Defendant Waste Pro USA, Inc. provides

garbage and waste removal services throughout the southeastern United States, including

Florida, Mississippi, Tennessee, Louisiana, Arkansas, South Carolina, North Carolina, Alabama

and Georgia.

         52.      Defendant Waste Pro of North Carolina is a corporation organized and existing

under the laws of the state of North Carolina. Defendant Waste Pro of South Carolina is licensed

and registered to do business in Florida, with headquarters in Longwood, Florida. Defendant

Waste Pro of North Carolina provides garbage and waste removal services throughout the state

of North Carolina.

         53.      Defendant Waste Pro of South Carolina is a corporation organized and existing

under the laws of the state of South Carolina. Defendant Waste Pro of South Carolina is licensed

and registered to do business in Florida, with headquarters in Longwood, Florida. Defendant




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Waste Pro of South Carolina provides garbage and waste removal services throughout the state

of South Carolina.

       54.     Defendants are integrated enterprises engaged in commerce within the meaning of

the FLSA because, among other reasons, they have had employees engaged in commerce or in

the production of goods for commerce, or employees handling, selling, or otherwise working on

goods or materials that have moved in or were produced for commerce by any person, 29 U.S.C.

§ 203(s)(1).

       55.     Defendants Waste Pro of North Carolina and Waste Pro of South Carolina are

overseen by the same Regional Vice President.

       56.     Throughout the relevant period, Defendants have been covered employers as that

term is used within the meaning of the FLSA and all other relevant laws.

       57.     Throughout the relevant period, Defendants’ annual gross volume of sales made,

or business done was not less than $500,000.

       58.     At all relevant times, Defendants have employed and/or jointly employed Plaintiff

and the similarly situated employees.

       59.     Waste Pro USA’s website advertises that it operates from more than 75 locations

across the Southeast. See www.wasteprousa.com/the-waste-pro-way/ (last visited June 5, 2020).

       60.     Waste Pro USA’s website does not differentiate between different Waste Pro

entities but promotes Waste Pro USA’s services as one common business purpose across the

states in which it does business. Id.

       61.     Defendants do business under the brand, trade name or mark of “Waste Pro.”

       62.     Upon information and belief, Waste Pro North Carolina is a subsidiary of Waste

Pro USA.




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       63.     Upon information and belief, Waste Pro South Carolina is a subsidiary of Waste

Pro USA.

       64.     Upon information and belief, Defendants share the same management and

executive offices.

       65.     Upon information and belief, Defendants administer their human resources

functions using the same personnel at their executive offices.

       66.     Each Defendant employed or acted in the interest of an employer towards

Plaintiffs and, directly or indirectly, jointly and severally, including without limitation,

controlled and directed the terms of employment and compensation of Plaintiffs.

       67.     Upon information and belief, Defendants operate in concern in a common

enterprise and through related activities, so that the actions of one may be imputed to the other

and/or so they operate as joint employers within the meaning of the FLSA.

       68.     Defendants each had the power to control the terms and conditions of

employment of Plaintiffs, including, without limitation, those terms and conditions related to the

claims alleged herein.

       69.     Defendants maintained control and oversight over Plaintiffs, including

timekeeping, payroll, compensation, overtime pay, and the other employment practices.

       70.     Upon information and belief, Defendants’ business is a centralized, top-down

operation controlled by Defendants.

       71.     All of the work that Plaintiffs performed has been assigned by Defendants and/or

Defendants have been aware of all of the work that Plaintiffs have performed.

                          PLAINTIFF’S FACTUAL ALLEGATIONS

       72.     Plaintiffs regularly worked more than 40 hours per workweek for Defendants as




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Helpers.

        73.     Plaintiffs are paid bi-weekly.

        74.     Plaintiffs are supposedly paid a “day rate,” which was supposed to be a flat rate

for a day’s work, regardless of the number of hours worked. However, if Plaintiffs worked less

than four hours on any particular day, Defendants’ policy and practice was to cut Plaintiffs’ day

rate in half and pay Plaintiffs a half day rate.

        75.     For example, during the two week period of August 28, 2016 to September 10,

2016, instead of receiving his day rate of $110.00 for all days worked during the pay period,

Plaintiff Christopher Williams received $55.00 for one day of work in which he worked less than

four hours during that day. Other Plaintiffs (including Ramel Barnes and Sharwin Carter) who

worked less than 4.0 hours on certain days also received one-half of their day rate for such days.

        76.     Defendant Waste Pro USA, Inc.’s Director of Payroll and Systems Automation,

Judi Craigo, sent e-mail correspondence setting forth Defendants’ day rate policy which

demonstrates that the half-day pay practice is tied to the number of hours worked in a day. Ms.

Craigo states that if a day rate employee (like all Plaintiffs) worked “less than 4.0 hours” then

they day rate employees receive a half day rate. In that same e-mail, Ms. Craigo stated that if a

day rate employee (like all Plaintiffs) worked “4 hours or more,” then they day rate employees

receive a full day rate.

        77.     Defendants maintained this half day rate pay practice until on or about July 12,

2017.

        78.     When Plaintiffs worked overtime hours, Defendants calculated their regular rates

of pay by dividing their total pay for the two-week pay period by the total number of hours

worked and Defendants then paid overtime wages at a rate of one-half of their regular rates of




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pay.

       79.     The “days” that Plaintiffs work are counted by the Defendants as shifts.

       80.     The day rate that Defendants paid Plaintiffs appears to be intended to pay them

for a normal workday of 8 hours.

       81.     The “day rate” is cut in half when they work less than 4 hours.

       82.     A day rate compensation plan requires a flat sum for a day’s work without regard

to the number of hours worked in the day. 29 C.F.R. §778.112. Plaintiffs were not paid a flat sum

for a day’s work without regard to the number of hours worked in the day in violation of the day

rate provisions of the FLSA.

       83.     Because Defendants violated 29 C.F.R. §778.112 by not paying Plaintiffs a full

day rate when they work less than 4.0 hours in a day, Defendants violated the FLSA and must

pay overtime wages at time and one-half rate for all overtime hours worked by Plaintiffs.

       84.     In addition to paying the foregoing compensation to Plaintiffs, Defendants also

pay non-discretionary bonuses to Plaintiffs. These bonuses include, but are not limited to,

safety/performance bonuses and help bonuses.

       85.     Safety or performance bonuses are not discretionary in nature under 29 C.F.R. §

778.211 because they are promised to Plaintiffs for performing work without any safety

infractions, and for working complete workweeks without missing any days.

       86.     These safety/performance bonuses are “additional compensation” that violate the

FLSA’s day rate regulation and are not in compliance with the day rate provision of 29 C.F.R. §

778.112.

       87.     For example, on February 21, 2016, Plaintiff Demario Sims was paid a

safety/performance bonus. Other Plaintiffs (including Elijah Reid IV, Ramel Barnes, Ronnie




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Aiken, Sharwin Carter, and Sidney Walker) were also paid safety/performance bonuses.

       88.     Help bonuses are not discretionary in nature under 29 C.F.R. § 778.211 because

they are promised to Plaintiffs who assist on a route not initially assigned to them that is in need

of help.

       89.     Help bonuses are “additional compensation” that violate the FLSA’s day rate

regulation and are not in compliance with the day rate provision of 29 C.F.R. § 778.112.

       90.     For example, on December 31, 2017, Plaintiff Chuma Ikeme was paid a help

bonus. Other Plaintiffs (including Demario Sims Emmanuel Benight, Ramel Barnes and

Sharwin Carter) were also paid help bonuses.

       91.     The unlawful policies described in this Complaint applied to Plaintiffs.

       92.     The unlawful policies described above include Defendants not paying a true day

rate as Defendants required a certain number of hours to be worked on a given day in order to

pay the full day’s wage; Defendants’ additional non-discretionary compensation practices; and

Defendants’ payment of only half-time for overtime hours. These practices violate the FLSA

and all Plaintiffs who are or were subject to such unlawful practices are owed damages pursuant

to the FLSA.

                      JOINT EMPLOYER FACTUAL ALLEGATIONS

       93.     Waste Pro USA is a corporation that provides commercial and residential waste

collection services and operates over 75 locations in Alabama, Arkansas, Florida, Georgia,

Louisiana, Mississippi, Tennessee, North Carolina, and South Carolina.

       94.     Waste Pro USA issued a press release on October 24, 2017, in which it

acknowledged that it “has revenues projected to exceed $640 million this year, is headquartered in

Longwood and its [sic] nine-state footprint includes more than 2 million customers, more than




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3,200 employees, and 2,400 collection trucks. In Florida, Waste Pro has more than 28 operating

locations.”

       95.     Waste Pro USA is the parent company of subsidiaries throughout the southeast,

including Waste Pro South Carolina.

       96.     Waste Pro USA is the only shareholder of each subsidiary.

       97.     Subsidiaries of Waste Pro USA list Waste Pro USA’s corporate headquarters in

Longwood, Florida as their principal place of business.

       98.     Subsidiaries, such as Waste Pro North Carolina and Waste Pro South Carolina, do

not have a Board of Directors.

       99.     Subsidiaries such as Waste Pro North Carolina and Waste Pro South Carolina are

also in the business of handling waste and recycling for residential and commercial clients.

       100.    John Jennings (“Jennings”) is the chairman of the board of Waste Pro USA.

       101.    As of the most recently filed annual reports, John Jennings also serves as the CEO

and President of Waste Pro subsidiaries, including Waste Pro North Carolina and Waste Pro South

Carolina.

       102.    Waste Pro USA employees are “led by Regional vice presidents and a streamlined

corporate staff in Longwood, Florida.”

       103.    The “streamlined corporate staff in Longwood is comprised of a Fleet Manager,

Chief Financial Officer, Chief Development Officer, Vice President of Market Development,

Chief Marketing Officer, Human Resources Director, and Fred Wood (Senior Vice President).

       104.    All of these employees report to John Jennings, who directs Waste Pro USA and its

subsidiaries, which is the “largest, full-service, vertically integrated waste management

companies.”




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       105.       The CEO of Waste Pro USA hires Regional Vice Presidents (“RVPs”) to oversee

certain regions of their operations.

       106.       The decision to fire an RVP comes from the Waste Pro USA Board of Directors.

       107.       There are seven RVPs in total.

       108.       RVPs oversee regions of Waste Pro USA’s operations that span across several

different subsidiaries.

       109.       John Jennings recruited Ralph Mills in mid-2006 and hired Mills as Waste Pro

Florida’s first RVP.

       110.       Mr. Mills serves (or served) as the RVP of the Coastal Region.

       111.       The RVPs report to the CEO of Waste Pro USA, John Jennings, who held the CEO

title at WP USA from the company’s inception in approximately 2001 until approximately 2016

when Tim Herman assumed that role.

       112.       RVPs represent themselves as employees of Waste Pro USA.

       113.       Waste Pro USA’s CEO corresponds with the RVPs to determine the profitability

of each region.

       114.       The RVPs communicate with John Jennings regularly to discuss business matters,

such as potential property acquisitions in their regions.

       115.       Roughly three times a year, Jennings has a meeting with the RVPs to discuss the

status of the regions. Other corporate directors, such as Shannon Early (Waste Pro USA’s Vice

President of Human Resources), also attend these meetings.

       116.       Jennings also provides financial support to the regions, such as purchasing all of

the waste disposal trucks for the regions, including Waste Pro North Carolina and Waste Pro South

Carolina.




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          117.   Jennings works with investment bankers and investors and acquires money for

business needs. In the past, Jennings posted the assets of Waste Pro USA’s subsidiaries as

collateral to obtain financing for the business.

          118.   Equipment, such as garbage trucks, containers, carts and bins, are Waste Pro USA’s

largest capital expenditures and can cost $10 - $20 million so that the company can be equipped

to provide trash removal services.

          119.   Employees of Defendant Waste Pro USA are also involved in litigation and

Department of Labor investigations involving subsidiaries.

          120.   Waste Pro USA maintains a corporate logo, affixed to its garbage trucks of

subsidiaries.

          121.   Once a week, RVPs conduct a conference call to discuss the needs and successes

of their regions across Waste Pro USA subsidiaries.

          122.   Waste Pro USA maintains a company-wide website.

          123.   Under the website’s “Leadership” tab, all upper management post their pictures and

titles.

          124.   John Jennings is identified as the “Chairman & CEO.”

          125.   The RVPs are all listed under Waste Pro USA’s Leadership Section.

          126.   In an email sent from Judi Craigo, Waste Pro USA’s Director of Payroll and Human

Relations Systems, to Sharon Tolopka, Waste Pro USA’s Chief Accounting Officer, Ms. Craigo

attached an auditing document that states, in part: “[WP USA] currently employs approximately

2800 people, with approximately 500 salary and 2300 hourly.”

          127.   In Trash Talk, Vol. 2, Iss. 1, a publication issued by Waste Pro USA, Jennings

applauds the employees at all subsidiaries for adhering to Waste Pro USA’s core values and states




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that WP USA has instituted a “Leadership Program that will ultimately involve each of you. You

should have received a flyer outlining in detail our Core Values . . . it is my privilege to lead each

and every one of you into the next exciting Waste Pro decade.”

        128.   Waste Pro USA has admitted in a prior litigation that it was an employer and

employed a Driver which was also paid by the day rate method.

        129.   Employees’ pay changes must come through the Corporate Human Resources

department at Waste Pro USA.

        130.   Waste Pro USA has indicated that no supervisor or member of management, except

John Jennings (Waste Pro USA President & CEO), has the authority to bind the company to any

employment contract for any specified period of time with any employee, either verbally or in

writing.

        131.   Waste Pro USA handles payment of wages to Helpers.

        132.   Jennings and Early, Waste Pro USA employees, are involved with bonus decisions

for employees at subsidiaries.

        133.   Waste Pro USA handles the explaining and coordinating of benefits and Waste Pro

USA directs Plaintiffs to contact Waste Pro USA Human Resources regarding bonuses.

        134.   Waste Pro USA defines the workweek and pay periods which are the same for all

Plaintiffs.

        135.   Waste Pro USA prepared a presentation which purports to explain how the day rate

practice works. Waste Pro USA explained the day rate compensation practice using this same

presentation at all subsidiaries, including Waste Pro North Carolina and Waste Pro South Carolina.

        136.   Early, in her capacity of Director of Human Resources at Waste Pro USA, created

an Employee Handbook with the intention that it be applicable to each of Waste Pro USA’s




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subsidiaries.

        137.    Early and Employment Manager, Erika Boyles, of Waste Pro USA created a

common job description for all subsidiaries.

                138.    WP USA tells its employees, including Plaintiffs, when they are hired:

                Welcome to Waste Pro USA!

                Dear Employee:

                You and Waste Pro USA have made an important decision: The
                Company has decided you can contribute to our success, and you’ve
                decided that Waste Pro USA is the organization where you can
                pursue your career productively and enjoyably.

        139.    Waste Pro USA’s employee handbook covers all aspects of employment, including,

among many others, work rules, compensation and benefits policies, and timekeeping and

attendance policies.

        140.    Waste Pro USA directs Plaintiffs in the employee handbook to follow the policies

and procedures outlined in this Handbook.

        141.    Waste Pro USA warns Plaintiffs that any violation of these policies and procedures

or any other Waste Pro policy, practice or procedure will subject me to disciplinary action, up to

and including termination of employment, with or without progressive discipline.

        142.    Waste Pro USA issues “Absolute Rules” which all employees must follow while

performing their work.

        143.    These corporate policies and procedures are available on the Waste Pro USA

intranet and apply to all of its subsidiaries.

        144.    Waste Pro USA issues many other common policies and procedures that direct how

Plaintiffs need to perform their work. For example, the DOT Procedures and Vehicle Operations

policy is 217 pages long.



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                              FIRST CAUSE OF ACTION
                     Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.
 On behalf of Plaintiffs Chuma Ikeme, Elijah Reed and Emmanuel Benight against Waste
              Pro USA and Waste Pro North Carolina, jointly and severally

       145.    Plaintiffs Chuma Ikeme, Elijah Reed and Emmanuel Benight (collectively, “NC

Plaintiffs”) reassert and re-allege the allegations made in all preceding paragraphs herein.

       146.    NC Plaintiffs are employees of Waste Pro USA and Waste Pro North Carolina

within the meaning of the FLSA.

       147.    Waste Pro USA and Waste Pro North Carolina jointly employed NC Plaintiffs

within the meaning of the FLSA.

       148.    NC Plaintiffs worked more than 40 hours during their employment with Waste

Pro USA and Waste Pro North Carolina as Helpers and were not paid overtime wages at time

and one-half of their regular rates of pay in violation of the FLSA.

       149.    Waste Pro USA and Waste Pro North Carolina, in failing to pay NC Plaintiffs

time and a half overtime premium pay when they work more than forty hours per week, have

violated the FLSA.

       150.    While dividing total pay by total hours worked, whatever their number, may be

permissible for true “day rate” employees, Waste Pro USA and Waste Pro North Carolina do not

pay a true “day rate.” Waste Pro USA and Waste Pro North Carolina do not pay a “flat sum for a

day’s work or for doing a particular job, without regard to the number of hours worked in the

day or at the job…” 29 C.F.R. § 778.112. (emphasis added). Instead, Waste Pro USA and

Waste Pro North Carolina pay one-half of their alleged “day rate” when NC Plaintiffs work less

than 4.0 hours in a day. Accordingly, Waste Pro USA and Waste Pro North Carolina should

have divided NC Plaintiffs’ total pay by forty (40) hours to determine the regular rates of pay

and paid for all overtime hours worked at time and a half of the regular rate of pay.



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       151.    29 C.F.R. § 778.112 provides as follows:

       If the employee is paid a flat sum for a day’s work or for doing a particular job, without
       regard to the number of hours worked in the day or at the job, and if he receives no other
       form of compensation for services, his regular rate is determined by totaling all the sums
       received at such day rates or job rates in the workweek and dividing by the total hours
       actually worked. He is then entitled to extra half-time pay at this rate for all hours worked
       in excess of 40 in the workweek.

Id. (emphasis added).

       152.    Waste Pro USA and Waste Pro North Carolina have also violated by the FLSA by

paying an ostensible “day rate” and a half-time premium while also paying non-discretionary

bonuses, including but not limited to safety/performance and help bonuses, which are another

form of compensation.

       153.    Waste Pro USA’s and Waste Pro North Carolina’s failure to pay a time and a half

overtime premium has been willful in that they knew that they were not paying a true and proper

“day rate” as defined by 29 C.F.R. § 778.112 and yet used the half-time rate of overtime

calculation nonetheless.

       154.     As a result of Waste Pro USA’s and Waste Pro North Carolina’s violations of the

FLSA, NC Plaintiffs have suffered damages and are entitled to recovery of such damages,

liquidated damages, attorneys’ fees, costs.

                              SECOND CAUSE OF ACTION
                     Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.
On behalf of Plaintiffs Ramel Barnes and Sharwin Carter and Demario Sims against Waste
              Pro USA and Waste Pro South Carolina, jointly and severally

       155.    Plaintiffs Ramel Barnes and Sharwin Carter and Demario Sims (collectively, “SC

Plaintiffs”) reassert and re-allege the allegations made in all preceding paragraphs herein.

       156.    SC Plaintiffs are employees of Waste Pro USA and Waste Pro South Carolina

within the meaning of the FLSA.




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       157.    Waste Pro USA and Waste Pro South Carolina jointly employed SC Plaintiffs

within the meaning of the FLSA.

       158.    SC Plaintiffs worked more than 40 hours during their employment with Waste Pro

USA and Waste Pro South Carolina as Helpers and were not paid overtime wages at time and

one-half of their regular rates of pay in violation of the FLSA.

       159.    Waste Pro USA and Waste Pro South Carolina, in failing to pay SC Plaintiffs

time and a half overtime premium pay when they work more than forty hours per week, have

violated the FLSA.

       160.    While dividing total pay by total hours worked, whatever their number, may be

permissible for true “day rate” employees, Waste Pro USA and Waste Pro South Carolina do not

pay a true “day rate.” Waste Pro USA and Waste Pro South Carolina do not pay a “flat sum for a

day’s work or for doing a particular job, without regard to the number of hours worked in the

day or at the job…” 29 C.F.R. § 778.112. (emphasis added). Instead, Waste Pro USA and

Waste Pro South Carolina pay one-half of their alleged “day rate” when SC Plaintiffs work less

than 4.0 hours in a day. Accordingly, Defendants should have divided SC Plaintiffs’ total pay by

forty (40) hours to determine the regular rates of pay and paid for all overtime hours worked at

time and a half of the regular rate of pay.

       161.    29 C.F.R. § 778.112 provides as follows:

       If the employee is paid a flat sum for a day’s work or for doing a particular job, without
       regard to the number of hours worked in the day or at the job, and if he receives no other
       form of compensation for services, his regular rate is determined by totaling all the sums
       received at such day rates or job rates in the workweek and dividing by the total hours
       actually worked. He is then entitled to extra half-time pay at this rate for all hours worked
       in excess of 40 in the workweek.

Id. (emphasis added).

       162.    Waste Pro USA and Waste Pro South Carolina have also violated by the FLSA by



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paying an ostensible “day rate” and a half-time premium while also paying non-discretionary

bonuses, including but not limited to safety/performance and help bonuses, which are another

form of compensation.

       163.    Waste Pro USA’s and Waste Pro South Carolina’s failure to pay a time and a half

overtime premium has been willful in that they knew that they were not paying a true and proper

“day rate” as defined by 29 C.F.R. § 778.112 and yet used the half-time rate of overtime

calculation nonetheless.

       164.    As a result of Waste Pro USA’s and Waste Pro South Carolina’s violations of the

FLSA, SC Plaintiffs have suffered damages and are entitled to recovery of such damages,

liquidated damages, attorneys’ fees, costs.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for the following relief:

       A. Unpaid overtime under the FLSA;

       B. Liquidated damages permitted under the FLSA;

       C. Attorneys’ fees and costs of suit, including expert fees; and

       D. Such other relief as the Court may deem just and proper.

                              DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a trial

by jury on all questions of fact raised by the Complaint.


Dated: July 22, 2020                               Respectfully submitted,




                                                   By:



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                                      * application for admission pro hac vice
                                      forthcoming




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